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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA )
)
V. ) Criminal No. 08-69-002 Erie

)
MELVIN E. SCHRECENGOST, )
Defendant )
)

PLEA

Defendant, Melvin E. Schrecengost
being arraigned, pleads GUILTY to
Count One (1) this 15"" day of January, 2009

the piblt0IefE

MELVIN E. SCHRECENGOST, Defendant

De. JZ

Damon C. Hopkins, Attorney for Defendant
